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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

Ricardo Cajero Torres and Mario Bautista, each
individually and on behalf all other employees similarly
situated,
                                       Plaintiffs,
                                                                  Case No.
                         - against -
                                                                  COLLECTIVE ACTION
                                                                  COMPLAINT
Sushi Sushi Holdings Inc. d/b/a Sushi Sushi, Igor Grinberg,
and Angie “Doe”,


                             Defendants.
_________________________________________________

       Plaintiffs Ricardo Cajero Torres, and Mario Bautista (collectively “Plaintiffs”) on their

own behalf and on behalf of all others similarly situated, by and through their undersigned

attorneys, Hang & Associates, PLLC, hereby file this complaint against the Defendants Sushi

Sushi Holdings Inc. d/b/a Sushi Sushi, Igor Grinberg, Angie “Doe”,(collectively “Defendants”),

allege and show the Court the following:

                                          INTRODUCTION

       1.     This is an action brought by the Plaintiffs on their behalf and on behalf of similarly

situated employees, alleging violations of the Fair Labor Standards Act, 29 U.S.C. § 201 et seq.

(“FLSA”) and the New York Labor Law, arising from Defendants’ various willful and unlawful

employment policies, patterns and/or practices.

       2.     Upon information and belief, Defendants have willfully and intentionally

committed widespread violations of the FLSA and NYLL by engaging in a pattern and practice of

failing to pay their employees, including Plaintiff, overtime compensation for all hours worked

over forty (40) each workweek.
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       3.      Plaintiff alleges pursuant to the FLSA, that he is entitled to recover from the

Defendants: (1) unpaid minimum wages, (2) unpaid overtime compensation, (3) reimbursement

for expenses relating to tools of the trade, (4) liquidated damages, (5) prejudgment and post-

judgment interest; and (6) attorneys’ fees and costs.

       4.      Plaintiff further alleges pursuant to New York Labor Law § 650 et seq. and 12 New

York Codes, Rules and Regulations §§ 146 (“NYCRR”) and New York Common law that he is

entitled to recover from the Defendants: (1) unpaid minimum wages, (2) overtime compensation,

(3) unpaid “Spread of Hours” premium, (4) unpaid agreed upon wages, (5) compensation for

failure to provide wage notice at the time of hiring and failure to provide paystubs in violation of

the NYLL, (6) liquidated damages equal to the sum of unpaid minimum, unpaid spread of hours

premium, and unpaid overtime compensation pursuant to the NY Wage Theft Prevention Act, (7)

prejudgment and post-judgment interest; and (8) attorney’s fees and costs.

                                     JURISDICTION AND VENUE

       5.      This Court has original federal question jurisdiction over this controversy under 29

U.S.C. §216(b), 28 U.S.C. § 1331, and has supplemental jurisdiction over the New York Labor

Law claims pursuant to 28 U.S.C. § 1367(a).

       6.      Venue is proper in the Southern District of New York pursuant to 28 U.S.C. §§

1391(b) and (c), because Defendants conduct business in this District, and the acts and omissions

giving rise to the claims herein alleged took place in this District.

                                           PLAINTIFFS

       7.      Plaintiff Ricardo Cajero Torres is a resident of Queens and was employed as a

delivery worker by Defendants, with the principal place of business 1504 Amsterdam Ave., New

York, NY 10031, from on or about January 2016 to January 27, 2019.


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       8.      Plaintiff Mario Bautista is a resident of Manhattan and was employed as a delivery

worker by Defendants, with its principal place of business at 1504 Amsterdam Ave. New York,

NY 10031, from on or about December 2017 to January 20, 2019.

                                    CORPORATE DEFENDANT

       9.      Upon information and belief, Corporate Defendant, Sushi Sushi Holdings Inc. d/b/a

Sushi Sushi, is a domestic business corporation organization and existing under the laws of the

State of New York and maintains its principal place of business at 1504 Amsterdam Ave, New

York, NY 10031.

       10.     Upon information and belief, Sushi Sushi Holdings Inc. d/b/a Sushi Sushi, operates

two Japanese Sushi restaurants, with one located at 1504 Amsterdam Ave, New York, NY 10031

and the other located at 126 MacDougal Street, New York, NY 10038.

       11.     Upon information and belief, at all times relevant hereto, Sushi Sushi Holdings Inc.

d/b/a Sushi Sushi, is a business or enterprise engaged in interstate commerce employing more than

two (2) employees and earning gross annual sales over Five Hundred Thousand Dollars ($500,000)

as it generates approximately Eight Thousand Dollars ($8,000) per month in sales.

       12.     Upon information and belief, at all relevant times hereto, Sushi Sushi Holdings Inc.

d/b/a Sushi Sushi, have been and continue to be “employers” engaged in interstate “commerce”

and/or in the production of “goods” for “commerce”, within the meaning of the Fair Labor

Standards Act (“FLSA”), 29 U.S.C § 203 because Sushi Sushi Holdings Inc. purchases food, drink

and restaurant supplies from outside the state of New York and internationally.

       13.     Sushi Sushi Holdings Inc. d/b/a Sushi Sushi, constitutes an enterprise within the

meaning of the FLSA, 29 U.S.C § 203(r).




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       14.     Sushi Sushi Holdings Inc. d/b/a Sushi Sushi has been Plaintiffs’ employer within

the meaning of the New York State Labor Law (“NYLL”) § 2, 190, and 651.

                                     INDIVIDUAL DEFENDANTS

       15.     Upon information and belief, Defendant Igor Grinberg is the owner, officer,

director and/or managing agent of Sushi Sushi Holdings Inc. d/b/a Sushi Sushi, at 1504 Amsterdam

Ave., New York, NY 10031 and participated in its day-to-day operations, acted intentionally and

maliciously, is an employer pursuant to FLSA, 29 U.S.C. §203d, and regulations promulgated

thereunder, 29 C.F.R. §791.2, NYLL §2 and the regulations thereunder, and is jointly and severally

liable with Greenwich Catering Corp.

       16.     Upon information and belief, Defendant Igor Grinberg owns the stock of Sushi

Sushi Holdings Inc. d/b/a Sushi Sushi, and manages and makes all business decisions including

but not limited to the amount in salary the employee will receive, and the number of hours

employees will work.

       17.     Upon information and belief, Defendant Angie “Doe” is the supervisor, manager

and/or managing agent of Sushi Sushi Holdings Inc. d/b/a Sushi Sushi, at 1504 Amsterdam Ave.,

New York, NY 10031 and participated in its day-to-day operations, acted intentionally and

maliciously, is an employer pursuant to FLSA, 29 U.S.C. §203d, and regulations promulgated

thereunder, 29 C.F.R. §791.2, NYLL §2 and the regulations thereunder, and is jointly and severally

liable with Greenwich Catering Corp.

       18.     Upon information and belief, Defendant Angie “Doe” owns the stock of Sushi

Sushi Holdings Inc. d/b/a Sushi Sushi, and manages and makes all business decisions including

but not limited to the amount in salary the employee will receive, and the number of hours

employees will work.


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        19.     At all times relevant herein Sushi Sushi Holdings Inc. d/b/a Sushi Sushi, was, and

continues to be, an “enterprise engaged in commerce” within the meaning of FLSA.

        20.     At all relevant times, the work performed by Plaintiffs was directly essential to the

business operated by Sushi Sushi Holdings Inc. d/b/a Sushi Sushi.

        21.     At all relevant times, Defendants knowingly and willfully failed to pay Plaintiffs

their lawfully earned minimum wages and overtime compensation and failed to provide them with

a wage notice at the time of hiring in violation of the NYLL.

        22.     Plaintiffs have fulfilled all conditions precedent to the institution of this action and/

or conditions have been waived.

                                    STATEMENT OF FACTS

        23.     Defendants committed the following alleged acts knowingly, intentionally and

willfully.

        24.     Defendants knew that the nonpayment of minimum wages, overtime pay, spread of

hours premium, and failure to provide wage statements and the required wage notice at the time

of hiring would financially injure Plaintiff and similarly situated employees and violate state and

federal laws.

Plaintiff Ricardo Cajero Torres

        25.     From on or about January 2016 to January 27, 2019, Plaintiff Ricardo Cajero Torres

(“Plaintiff Torres”) was hired by Defendants as a delivery worker for Defendants’ Sushi Sushi

Holdings Inc. d/b/a Sushi Sushi, located at 1504 Amsterdam Ave., New York, NY 10031

(“Restaurant”).

        26.     Starting on or about January 2016 until January 27, 2019, Plaintiff Torres worked

six (6) days per week: Monday, Thursday and Friday from 11:00 am to 11:00 pm; Tuesday,


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Wednesday and Sunday from 6:00 pm to 11:00 pm; and Saturdays off. During this period Plaintiff

Torres was not provided with an hour break and worked approximately fifty-one (51) hours per

week.

        27.    When his employment began, Plaintiff Torres was initially paid weekly in cash.

Beginning on or about January 2018, Defendants began paying Plaintiff Torres weekly in

combination of check and cash but failed to provide him a wage statement with each payment.

Plaintiff Torres saw that other employees such as the cooks were still paid in cash while others

were switched to checks and cash combination.

        28.    Plaintiff Torres was paid $7.50 per hour in the year 2016, $8.00 per hour in 2017,

and $9.00 per hour in 2018, but was not paid overtime premium for hours worked above forty (40)

hours per week.

        29.    Despite Defendant maintaining a time sheet to track its employees’ hours worked,

Defendant failed to pay Plaintiff Torres overtime in violation of Federal and New York Labor

laws.

        30.    Plaintiff Torres was never informed in writing as to his hourly rate of pay and

overtime rate of pay. In addition, Plaintiff Torres did not receive notice that Defendants were

taking a tip credit, in violation of the New York Labor Law. In addition, Plaintiff Torres did not

receive any notice as to the amount of tip credit allowance taken for each payment period during

his employment. Therefore, any purported tip credit taken by Defendants with respect to Plaintiff

Torres is invalid.

        31.    Although Plaintiff Torres often worked shifts exceeding ten (10) hours per day,

Plaintiff Torres was not compensated for New York State’s “spread of hours” premium for shifts

that lasted longer than ten (10) hours, one day each week.


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         32.   Defendants knowingly and willfully operated their business with a policy of not

reimbursing Plaintiff Torres for expenses incurred in relation to tools of the trade used by Plaintiff

Torres to make deliveries for the Defendant. Defendant required that Plaintiff Torres purchase an

electronic bicycle in order to make deliveries faster. Plaintiff spent $2,000 to purchase said bicycle

and $50 per month to maintain and repair the electric bicycle which was not reimbursed by the

Defendants.

         33.   Under the FLSA, the Plaintiff Torres is entitled to a credit for expenses for tools of

trade.

Plaintiff Mario Bautista

         34.   From on or about December 2017 to January 20, 2019, Plaintiff Mario Bautista

(“Plaintiff Bautista”) was hired by Defendants as a delivery worker for Defendants’ Sushi Sushi

Holdings Inc. d/b/a Sushi Sushi, located at 1504 Amsterdam Ave., New York, NY 10031.

         35.   Starting on or about December 2017 until January 20, 2019, Plaintiff Bautista

worked six (6) days per week with Tuesdays off. His schedule was: Monday, Wednesday,

Thursday, and Friday from 12:00 pm to 2:00 pm and then 5:00pm to 11:00pm, and on Sunday

from 11:00 am to 9:00 pm. During this period Plaintiff Bautista worked approximately fifty (50)

hours per week.

         36.   Plaintiff Bautista was paid $8.00 per hour but was not paid overtime for hours

worked beyond forty (40) hours.

         37.   Despite Defendant maintaining a time sheet to track its employees’ hours worked,

Defendant failed to pay Plaintiff Bautista overtime in violation of Federal and New York Labor

laws.




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        38.     Defendant paid Plaintiff Bautista in cash every Friday, but often delayed paying the

full amount owed for the week requesting Plaintiff Bautista wait for the next week to be paid the

difference. This constant practice left a carrying balance of Plaintiff Bautista’s owed wages that

left Plaintiff Bautista having to account for and plead for his unpaid wages.

        39.     Plaintiff Bautista was never informed in writing as to his hourly rate of pay and

overtime rate of pay. In addition, Plaintiff Bautista did not receive notice that Defendants were

taking a tip credit, in violation of the New York Labor Law. In addition, Plaintiff Bautista did not

receive any notice as to the amount of tip credit allowance taken for each payment period during

his employment. Therefore, any purported tip credit taken by Defendants with respect to Plaintiff

Bautista is invalid.

        40.     Although Plaintiff Bautista worked a shift exceeding ten (10) hours per day,

Plaintiff Bautista was not compensated for New York State’s “spread of hours” premium for shifts

that lasted longer than ten (10) hours, for that day each week.

        41.     Defendants knowingly and willfully operated their business with a policy of not

reimbursing Plaintiff Bautista for expenses incurred in relation to tools of the trade used by

Plaintiff Bautista to make deliveries for the Defendant. Defendants required Plaintiff Bautista to

purchase and maintain his own electric bike in order to make deliveries faster. It cost Plaintiff

Bautista $1,450 to purchase said bicycle and $100 per month to maintain it, which was not

reimbursed by the Defendants.

        42.     Under the FLSA, the Plaintiff Bautista is entitled to a credit for expenses for tools

of trade.

        43.     Defendants did not compensate Plaintiffs overtime compensation according to state

and federal laws.


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        44.    Plaintiffs were not compensated for New York State’s “spread of hours” premium

for shifts that lasted longer than ten (10) hours, one day each week.

        45.    Defendants did not provide Plaintiffs with a wage notices at the time of their hiring.

        46.    Defendants did not provide Plaintiffs with a wage statements with each pay.

        47.    Defendants did not reimburse Plaintiffs for expenses incurred in relation to tools of

the trade used by Plaintiffs to make deliveries for the Defendant.

        48.    Defendants committed the following alleged acts knowingly, intentionally and

willfully.

        49.    Defendants knew that the nonpayment of overtime and minimum wage would

economically injure Plaintiffs and the Collective Members by their violation of federal and state

laws.

        50.    While employed by Defendants, Plaintiffs were not exempt under federal and state

laws requiring employers to pay employees overtime.

        51.    Defendants failed to keep full and accurate records of Plaintiffs’ hours and wages.

        52.    Defendants did not provide Plaintiffs and other Collective Action Members with

written notices about the terms and conditions of their employment upon hire in relation to their

rate of pay, regular pay cycle and rate of overtime pay. These notices were similarly not provided

upon Plaintiffs and other Collective Members’ pay increase(s).

                          COLLECTIVE ACTION ALLEGATIONS

        53.    Defendants knowingly and willfully operated their business with a policy of not

paying either the FLSA minimum wage or the New York State minimum wage to Plaintiffs or

other similarly situated employees.




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       54.     Defendants knowingly and willfully operated their business with a policy of not

paying the New York State unpaid “Spread of Hours” premium to Plaintiffs and other similarly

situated employees.

       55.     Defendants knowingly and willfully operated their business with a policy of not

paying Plaintiffs and other similarly situated employees either the FLSA overtime rate (of time

and one-half), or the New York State overtime rate (of time and one-half), in violation of the FLSA

and New York Labor Law and the supporting federal and New York State Department of Labor

Regulations.

       56.     Plaintiffs brings this action, each individually and on behalf of all other and former

non-exempt employees who have been or were employed by the Defendants at the Restaurant

location for up to the last three (3) years, through entry of judgment in this case (the “Collective

Action Period”) and whom failed to receive minimum wages, spread-of-hours pay, and/or

overtime compensation for all hours worked in excess of forty (40) hours per week (the “Collective

Action Members”), and have been subject to the same common decision, policy, and plan to not

provide required wage notices at the time of hiring and wage statements with each pay, in

contravention to federal and state labor laws.

       57.     Upon information and belief, the Collection Action Members are so numerous the

joinder of all members is impracticable. The identity and precise number of such persons are

unknown, and the facts upon which the calculations of that number may be ascertained are

presently within the sole control of the Defendants. Upon information and belief, there are more

than ten (10) Collective Action Members, who have worked for or have continued to work for the

Defendants during the Collective Action Period, most of whom would not likely file individual

suits because they fear retaliation, lack adequate financial resources, access to attorneys, or


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knowledge of their claims. Therefore, Plaintiffs submit that this case should be certified as a

collection action under the FLSA, 29 U.S.C. §216(b).

       58.     Plaintiffs will fairly and adequately protect the interests of the Collective Action

Members and have retained counsel that is experienced and competent in the field of employment

law and class action litigation. Plaintiffs have no interests that are contrary to or in conflict with

those members of this collective action.

       59.     This action should be certified as collective action because the prosecution of

separate action by individual members of the collective action would risk creating either

inconsistent or varying adjudication with respect to individual members of this collective that

would as a practical matter be dispositive of the interest of the other members not party to the

adjudication, or subsequently impair or impede their ability to protect their interests.

       60.     A collective action is superior to other available methods for the fair and efficient

adjudication of this controversy, since joinder of all members is impracticable. Furthermore,

inasmuch as the damages suffered by individual Collective Action Members may be relatively

small, the expense and burden of individual litigation makes it virtually impossible for the

members of the collective action to individually seek redress for the wrongs done to them. There

will be no difficulty in the management of this action as collective action.

       61.     Questions of law and fact common to members of the collective action predominate

over questions that may affect only individual members because Defendants have acted on grounds

generally applicable to all members. Among the questions of fact common to Plaintiffs and other

Collective Action Members are:

   a. Whether the Defendants employed Collective Action members within the meaning of the

       FLSA;


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   b. Whether the Defendants failed to pay the Collective Action Members the minimum wage

       in violation of the FLSA and the regulations promulgated thereunder;

   c. Whether the Defendants failed to pay the Collective Action Members spread of hours

       payment for each day an employee worked over 10 hours;

   d. Whether the Defendants failed to pay the Collective Action Members overtime wages for

       all hours worked above forty (40) each workweek in violation of the FLSA and the

       regulation promulgated thereunder;

   e. Whether the Defendants failed to pay the Collective Action Members spread of hours

       payment for each day an employee worked over 10 hours;

   f. Whether the Defendants failed to provide the Collective Action Members with a wage

       notice at the time of hiring as required by the NYLL;

   g. Whether the Defendants failed to provide the Collective Action Members with a wage

       statements at the time of pay as required by the NYLL;

   h. Whether the Defendants’ violations of the FLSA are willful as that term is used within the

       context of the FLSA; and,

   i. Whether the Defendants are liable for all damages claimed hereunder, including but not

       limited to compensatory, punitive, and statutory damages, interest, costs and disbursements

       and attorneys’ fees.

       62.     Plaintiffs know of no difficulty that will be encountered in the management of this

litigation that would preclude its maintenance as a collective action.

       63.     Plaintiffs and others similarly situated have been substantially damaged by

Defendants’ unlawful conduct.

                                   STATEMENT OF CLAIM


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                                           COUNT I
                [Violations of the Fair Labor Standards Act—Minimum Wage
                 Brought on behalf of the Plaintiffs and the FLSA Collective]

       64.     Plaintiffs re-alleges and incorporate by reference all preceding paragraphs as

though fully set forth herein.

       65.     At all relevant times, upon information and belief, Defendants have been, and

continue to be, “employers” engaged in interstate “commerce” and/or in the production of “goods”

for “commerce,” within the meaning of the FLSA, 29 U.S.C. §§206(a) and §§207(a). Further,

Plaintiffs are covered within the meaning of FLSA, U.S.C. §§206(a) and 207(a).

       66.     At all relevant times, Defendants employed “employees” including Plaintiff, within

the meaning of FLSA.

       67.     Upon information and belief, at all relevant times, Defendants have had gross

revenues in excess of $500,000.

       68.     The FLSA provides that any employer engaged in commerce shall pay employees

the applicable minimum wage. 29 U.S.C. § 206(a).

       69.     At all relevant times, Defendants had a policy and practice of refusing to pay the

statutory minimum wage to Plaintiffs, and the collective action members, for some or all of the

hours they worked.

       70.     The FLSA provides that any employer who violates the provisions of 29 U.S.C.

§206 shall be liable to the employees affected in the amount of their unpaid minimum

compensation, and in an additional equal amount as liquidated damages.

       71.     Defendants knowingly and willfully disregarded the provisions of the FLSA as

evidenced by failing to compensate Plaintiffs and Collective Class Members at the statutory




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minimum wage when they knew or should have known such was due and that failing to do so

would financially injure Plaintiffs and Collective Action members.

                                          COUNT II
                     [Violation of New York Labor Law—Minimum Wage
                                 Brought on behalf of Plaintiffs]

        72.     Plaintiffs re-alleges and incorporate by reference all preceding paragraphs as

though fully set forth herein.

        73.     At all relevant times, Plaintiffs were employed by Defendants within the meaning

of New York Labor Law §§2 and 651.

        74.     Pursuant to the New York Wage Theft Prevention Act, an employer who fails to

pay the minimum wage shall be liable, in addition to the amount of any underpayments, for

liquidated damages equal to the total of such under-payments found to be due the employee.

        75.     Defendants knowingly and willfully violated Plaintiffs’ rights by failing to pay

them minimum wages in the lawful amount for hours worked.

                                           COUNT III
                 [Violations of the Fair Labor Standards Act—Overtime Wage
                  Brought on behalf of the Plaintiffs and the FLSA Collective]

        76.     Plaintiffs re-allege and incorporate by reference all preceding paragraphs as though

fully set forth herein.

        77.     The FLSA provides that no employer engaged in commerce shall employ a covered

employee for a work week longer than forty (40) hours unless such employee receives

compensation for employment in excess of forty (40) hours at a rate not less than one and one-half

times the regular rate at which he or she is employed, or one and one-half times the minimum

wage, whichever is greater. 29 USC §207(a).




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       78.    The FLSA provides that any employer who violates the provisions of 29 U.S.C.

§207 shall be liable to the employees affected in the amount of their unpaid overtime

compensation, and in an additional equal amount as liquidated damages. 29 USC §216(b).

       79.    Defendants’ failure to pay Plaintiffs and the FLSA Collective their overtime pay

violated the FLSA.

       80.    At all relevant times, Defendants had, and continue to have, a policy of practice of

refusing to pay overtime compensation at the statutory rate of time and a half to Plaintiffs and

Collective Action Members for all hours worked in excess of forty (40) hours per workweek, which

violated and continues to violate the FLSA, 29 U.S.C. §§201, et seq., including 29 U.S.C.

§§207(a)(1) and 215(a).

       81.    The FLSA and supporting regulations required employers to notify employees of

employment law requires employers to notify employment law requirements. 29 C.F.R. §516.4.

       82.    Defendants willfully failed to notify Plaintiffs and FLSA Collective of the

requirements of the employment laws in order to facilitate their exploitation of Plaintiff’s and

FLSA Collectives’ labor.

       83.    Defendants knowingly and willfully disregarded the provisions of the FLSA as

evidenced by their failure to compensate Plaintiffs and Collective Members the statutory overtime

rate of time and one half for all hours worked in excess of forty (40) per week when they knew or

should have known such was due and that failing to do so would financially injure Plaintiffs and

Collective Action Members.

                                        COUNT IV
                     [Violation of New York Labor Law—Overtime Pay]




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        84.     Plaintiff re-allege and incorporates by reference all preceding paragraphs as though

fully set forth herein.

        85.     Pursuant to the New York Wage Theft Prevention Act, an employer who fails to

pay proper overtime compensation shall be liable, in addition to the amount of any underpayments,

for liquidated damages equal to the total of such under-payments found to be due the employee.

        86.     Defendants’ failure to pay Plaintiffs and the FLSA Collective their overtime pay

violated the NYLL.

        87.     Defendants’ failure to pay Plaintiffs and the FLSA Collective was not in good faith.

                                            COUNT V
                     [Violation of New York Labor Law—Spread of Hour Pay]

        88.     Plaintiffs re-allege and incorporate by reference all preceding paragraphs as though

fully set forth herein.

        89.     The NYLL requires employers to pay an extra hour’s pay for every day that an

employee works an interval in excess of ten hours pursuant to NYLL §§190, et seq., and §§650,

et seq., and New York State Department of Labor regulations §146-1.6.

        90.     Defendants’ failure to pay Plaintiffs and FLSA Collective spread-of-hours pay was

not in good faith.

                                       COUNT VI
 [Violation of the Fair Labor Standards Act —Failure Reimburse for Expenses relating to
                                   Tools of the Trade]

        91.     Plaintiffs on behalf of themselves and all other similarly situated Collective Action

Members repeat and re-allege each and every allegation of the preceding paragraphs hereof with

the same force and effect as though fully set forth herein.

        92.     At all relevant times, the Defendants had a policy and practice of refusing to



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reimburse Plaintiffs for expenses incurred in relation to tools of the trade used by Plaintiffs in

order to make deliveries for Defendant’s restaurant business.

        93.     Defendants failed to pay Plaintiffs for expenses incurred in relation to tools of

the trade, which includes but is not limited to purchasing a bicycle and the cost of maintaining and

repairing the bicycle due to its constant use for the Defendant’s restaurant. At all relevant times,

the Defendants had a policy and practice of refusing to reimburse Plaintiffs for expenses incurred

in relation to tools of the trade used by Plaintiffs in order to make deliveries for Defendants.

        94.     Defendants knew of and/or showed a willful disregard for the provisions of the

FLSA as evidenced by their failure to reimburse Plaintiffs for expenses incurred in relation

to tools of the trade used by Plaintiff when Defendants knew or should have known such was due.

                                     COUNT VII
       [Violation of New York Labor Law—Time of Hire Wage Notice Requirement]

        95.     Plaintiffs re-allege and incorporate by reference all preceding paragraphs as though

fully set forth herein.

        96.     The Defendants failed to furnish to the Plaintiffs at the time of hiring a notice

containing the rate or rates of pay and basis thereof, whether paid by the hour, shift, day, week,

salary, piece, commission, or other; allowances, if any, claimed as part of the minimum wage,

including tip, meal, or lodging allowances; the regular pay day designated by the employer in

accordance with section one hundred ninety-one of this article; the name of the employer; any

“doing business as” names used by the employer; the physical address of the employer’s main

office or principal place of business, and a mailing address if different; the telephone number of

the employer, and anything otherwise required by law; in violation of the NYLL, § 195(1).

        97.     Due to the defendants’ violation of the NYLL, § 195(1) each Plaintiff is entitled



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to recover from Defendants, jointly and severally, $50 for each workday that the violation occurred

or continued to occur, up to $5,000, together with costs and attorneys’ fees pursuant to New York

Labor Law. N.Y. Lab. Law §198(1-b).

                                        COUNT VIII
             [Violation of New York Labor Law—New York Pay Stub Requirement]

        98.     Plaintiffs re-allege and incorporate by reference all preceding paragraphs as though

fully set forth herein.

        99.     The NYLL and supporting regulations require employers to provide detailed

paystub information to employees every payday. NYLL §198-1(d).

        100.    Defendants have failed to make a good faith effort to comply with the New York

Labor Law with respect to compensation of Plaintiffs and did not provide the pay stub on or after

each Plaintiff’s payday.

        101.    Due to Defendants’ violations of New York Labor Law, Plaintiffs are entitled to

recover from Defendants, jointly and severally, $250 for each workday of the violation, up to

$5,000 for Plaintiffs for costs and attorneys’ fees pursuant to New York Labor Law N.Y. Lab. Law

§198(1-d).

                                         Prayer for Relief

        WHEREFORE, Plaintiffs, on behalf of themselves and the FLSA collective members,

respectfully requests that this court enter a judgment providing the following relief:

        a)      Authorizing Plaintiffs at the earliest possible time to give notice of this collective

action, or that the court issue such notice, to all persons who are presently, or have been employed

by defendants as non-exempt employees. Such notice shall inform them that the civil notice has

been filed, of the nature of the action, of their right to join this lawsuit if they believe they were



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denied proper hourly compensation and overtime wages;

        b)     Certification of this case as a collective action pursuant to FLSA;

        c)     Issuance of notice pursuant to 29 U.S.C. § 216(b) to all similarly situated members

of the FLSA opt-in class, apprising them of the pendency of this action, and permitting them to

assert timely FLSA claims and state claims in this action by filing individual Consent to Sue forms

pursuant to 29 U.S.C. § 216(b), and appointing Plaintiffs and their counsel to represent the

Collective Action Members;

        d)     A declaratory judgment that the practices complained of herein are unlawful under

FLSA and New York Labor Law;

        e)     An injunction against Sushi Sushi Holdings Inc. d/b/a Sushi Sushi its officers,

agents, successors, employees, representatives and any and all persons acting in concert with them

as provided by law, from engaging in each of unlawful practices and policies set forth herein;

        f)     An award of unpaid wages and minimum wages due to Plaintiffs under the FLSA

and New York Labor Law, plus compensatory and liquidated damages in the amount of twenty

five percent under NYLL §§190 et seq., §§650 et seq., and one hundred percent after May 1, 2011

under NY Wage Theft Prevention Act, and interest;

        g)     An award of unpaid overtime wages due under FLSA and New York Labor Law,

plus compensatory and liquidated damages in the amount of twenty five percent under NYLL

§§190 et seq., §§650 et seq., and one hundred percent after May 1, 2011 under NY Wage Theft

Prevention Act, and interest;

        h)     An award of unpaid “spread of hours” premium due under the New York Labor

Law;

        i)     An award of unpaid expenses relating to tools of the trade due under the FLSA;


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       j)     An award of damages for Defendants’ failure to provide wage notice at the time of

hiring as required under the New York Labor Law.

       k)     An award of liquidated and/or punitive damages as a result of Defendants’ knowing

and willful failure to pay minimum wages, and overtime compensation pursuant to 29 U.S.C. §216;

       l)     An award of liquidated and/or punitive damages as a result of Defendants’ willful

failure to pay minimum wages, “spread of hours” premium, and overtime compensation pursuant

to New York Labor Law;

       m)     An award of costs and expenses of this action together with reasonable attorneys’

and expert fees pursuant to 29 U.S.C. §216(b) and NYLL §§198 and 663;

       n)     The cost and disbursements of this action;

       o)     An award of prejudgment and post-judgment fees;

       p)     Providing that if any amounts remain unpaid upon the expiration of ninety days

following the issuance of judgment, or ninety days after expiration of the time to appeal and no

appeal is then pending, whichever is later, the total amount of judgment shall automatically

increase by fifteen percent, as required by NYLL §198(4); and

       q)     Such other and further legal and equitable relief as this Court deems necessary, just,

and proper.

Dated: Flushing, New York                             HANG & ASSOCIATES, PLLC
       March 21, 2019
                                                By:    /s/ Lorena P. Duarte
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   EXHIBIT 1




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